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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE F

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EASTERN DlvlsioN w
JUL ' 2 2005
TERRY ABELS, as cht Friend and Thonm,M

Guardian Ad Litem for Jerry Hunt,
Plaintiff,
VS. No. 1-04-1148-T-An

GENIE INDUSTRIES, INC., et al.,

\_/\_/\_/\_/\._/\_/\_/`.,/\_/

Defendants.

 

ORDER DENYING DEFENDANT’S MOTION TO DISMISS, OR, IN THE
ALTERNATIVE, TO CHANGE VENUE

 

Plaintiff brought this action alleging negligence and strict liability when Jerry Hunt
was severely injured while using a man-lift that was designed, manufactured, and distributed
by Defendant Genie Industries, Inc.; was rented, leased, or otherwise distributed by
Defendant Rental Services Corporation (“RSC”); and Was leased to Defendant White
Electrical Construction Co. through its subsidiary Duncan Electronic Co. Defendant Genie
lndustries filed a motion to change venue to the United States District Court for the Eastern
District of Tennessee, Southern Division at Chattanooga, which was denied. Before the
court is Defendant White Electrical Construction’s motion to dismiss for improper venue
under 28 U.S.C. § 1391, or, in the alternative, to transfer venue to the Eastern District of

Tennessee pursuant to 28 U.S.C. § 1404(3). For the following reasons, Defendant’s motion

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is DENIED.
I. Facts

Jerry Hunt was severely injured on July 7, 2003, while operating a Genie-
manufactured man-lift. The lift was owned by RSC and leased to White. The incident
occurred in Cleveland, Tennessee.l The lift that caused the injury, described by Defendants
as “a large and unwieldy piece of machinery,” Defendant’s Motion to Change Venue, at 6,
is located in a storage facility in Ooltewah, "l`ennessee.2

As a result of the accident, Hunt sustained a hypoxic brain injuries and requires
constant medical attention. Hunt was treated at the Erlanger Hospital in Chattanooga,
Tennessee, after the accident and now names over twenty-six (26) physicians and health care
providers in Chattanooga as potential witnessesl At the time of the accident, Hunt was a
resident of Savannah, Tennessee, and was an employee of Insulation System, lnc., a
company owned by his uncle and guardian ad litem, Terry Abels, who lives in Savannah,
Tennessee.3

Hunt currently resides in Castalian Springs, Tennessee.4 He receives medical care at

 

‘ Cleveland, Tennessee is in the Eastern District of Tennessee.
2 Ooltewah, Tennessee is in the Easterm District of Tennessee.
3 Savannah, Tennessee is in the Western District of Tennessee.

4 Castalian Springs, Tennessee is located in the Middle District of Tennessee.
Defendant’s Motion to Transfer Venue states that Hunt currently lives in Castalian Springs,
Tennessee; however Plaintiff’s response states that Hunt resides in Savannah, Tennessee.
Defendant’s Motion to Transfer Venue, at 7; Plaintiff’s Response to the Motion to Dismiss
and/or Transfer Venue, at 7. Plaintiff did not provide any evidence to support this statement

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the Campbell Clinic in Memphis, Tennessee, and has listed seven (7) physicians and health
care providers as potential witnesses Plaintiff also lists as potential witnesses various other
healthcare providers from Bradley County Memorial Hospital, Physicians Services in
Cleveland, Tennessee, and Associates in Diagnostic Radiology in Cleveland, Tennessee.

Defendants are all multi-state corporations that are registered to do business within
the state of Tennessee. In addition, Genie is headquartered in Washington, RSC is
organized in Arizona, and White’s principal place of business is in Georgia. Genie and RSC
do business throughout Tennessee and White does business in several counties in East and
Middle Tennessee.5 Also, White has a listed registered agent for service of process in
Memphis, Tennessee.

Il. Law and Analysis

Defendant argues that dismissal for improper venue or a transfer to the Eastern

District of Tennessee is appropriate because the alleged accident happened in Cleveland,

Tennessee; the machinery involved in the accident is located in Ooltewah, Tennessee; and

 

Defendant included Plaintiff’s answers to its interrogatories in which Plaintiff lists three places
where he has resided in the last ten years. Plaintiff’s Answers to Defendant’s First Set of
lnterrogatories, at 2. Two of these addresses are in Savannah, Tennessee, and one is in Castalian
Springs, Tennessee. §§ Plaintiff did not indicate which address is most current, thus, it is
possible that Hunt lives in Castalian Springs, Tennessee, or Savannah, Tennessee.

5 White states that it has a business located in Chattanooga, Tennessee, and that, in the
last three years, it has done business in Knox, BlountJ Davidson, Polk, Cumberland, Coffee,
Rhea, Franklin, Hamilton, Marion, Bradley, and McMinn counties. Aff. of Phillip Childers, at W
4, 5. White also states that it is not involved in any projects located in the western part of
Tennessee, Aff. of Phillip Childers, at 1] 5.

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the bulk of the witnesses identified by Plaintiff are located in the Eastern District of
Tennessee. Plaintiff maintains that venue is proper in the Western District of Tennessee
pursuant to § 1391 and§ 1404(a).

A. Whether venue is proper under 28 U.S.C. § 1391.

The general venue statute provides that an action based solely on diversity of`
citizenship may be brought only in:

(1) a judicial district where any defendant resides, if all defendants reside in

the same State, (2) a judicial district in which a substantial part of the events

or omissions giving rise to the claim occurred, or a substantial part of property

that is the subject ofthe action is situated, or (3) a judicial district in which the

defendants are subject to personal jurisdiction at the time the action is

commenced, if there is no district in which the action may otherwise be
brought
28 U.S.C. § 1391(a).

In this case, the Defendants first contend that venue is improper because the cause
of action did not arise in this district and it could properly be brought in the Eastern District.
However, under § 1391(a)(2), venue is not necessarily proper in only one district. "Rather,
we ask whether the district the plaintiff chose had a substantial connection to the claim,
whether or not other forums had greater contacts." Setco Enter. Cort). v. Robbins, 19 F.3d
1278, 1281 (8‘h Cir. 1994). Venue would be proper in each district in which a substantial
part of the events giving rise to the claim occurred. See Sidco Indus. lnc. v. Wimar Tahoe

Co;p., 763 F. supp. 1343,1346(D.or. 1991).

Where the defendant is a corporation, however, specific rules exist for determining

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venue:

[A] defendant that is a corporation shall be deemed to reside in any judicial

district in which it is subject to personal jurisdiction at the time the action is

commenced In a State which has more than one judicial district and in which

a defendant that is a corporation is subject to personal jurisdiction at the time

an action is commenced, such corporation shall be deemed to reside in any

district in that State within which its contacts would be sufficient to subject

it to personal jurisdiction if that district were a separate State, and, if there is

no such district, the corporation shall be deemed to reside in the district within

which it has the most significant contacts.

28 U.S.C. § 1391(0). “Thus, determining whether venue exists under this section depends
upon whether personal jurisdiction over the corporation exists at the time the action was
commenced.” Union Planters Bank, N.A. v. EMC Mortg. Cor_p., 67 F.Supp.2d 915, 918
(W.D.Tenn. 1999). Here, the issue is whether Defendants are subject to personal
jurisdiction with the Western District of Tennessee if this district were a separate state.

In a diversity action, the reach of a federal court’s in personam jurisdiction is
governed by the law of the state in which the court is located. Pickens v. Hess, 573 F.2d
380, 385 (6th Cir. 1978). The Tennessee “long~arm” statute, Tenn. Code Ann. § 20-2-214,
permits Tennessee courts to exercise jurisdiction over non-residents to the full extent
allowed by due process. J.l. Case CorD. v. Williams, 832 S.W.2d 530, 531 (Tenn. 1992).
“Due process requires that a nonresident defendant be subjected to a judgment in personam
only if he has such minimum contacts with the foreign state that the maintenance of the suit

does not offend traditional notions of fair play and substantial justice.” l_d. at 532 (citin g

international Shoe Co. v. Washington, 326 U.S. 310 (1945)).

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In judging a defendant’s minimum contacts, “a court properly focuses on ‘the

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relationship among the defendant, the forum, and the litigation.” Keeton v. Hustler
Magazine, lnc., 465 U.S. 770, 775 (1984) (quoting Shaffer v. Heitner, 433 U.S. 186, 204
(1977)). Even a single contact may provide a sufficient basis for jurisdiction if the contact
creates a substantial connection with the forum state. Burger King Corp. v. Rudzewicz, 471
U.S. 462, 475 n.18 (1985). Because the essence ofthe concept ofminimum contacts is fair
warning, a court must ascertain whether by virtue of the defendant’s connection with the
forum state, the defendant could “reasonably anticipate being haled into court there.”
World-Wide Voll<swagen Corp. v. Woodsen, 444 U.S. 286, 297 (1980).

In Southern Mach. Co. v. Mohasco Indus.. Inc., 401 F.2d 374 (6“‘ Cir. 1968), the
Sixth Circuit devised a three-part test 6 to determine whether a defendant has the requisite
minimum contacts:

First, the defendant must purposefully avail himself of the privilege of acting

in the forum state or causing a consequence in the forum state. Second, the

cause of action must arise from the defendant’s activities there. Finally, the

acts of the defendant or consequences caused by the defendant must have a

substantial enough connection with the forum state to make the exercise of

jurisdiction over the defendant reasonablel

401 F.2d at 381; see also Neogen Coi_‘p., 282 F.3d at 889-90.

In this case, although none of the Def`endants are headquartered in Tennessee or have

 

6 The Tennessee Suprerne Court has suggested that the Mohasco test is “too restrictive" and proposed a
new five-part test. Masada Inv. Col_~p. v. Allen, 697 S.W.Zd 332, 334 (Tenn. 1985). However, the Sixth Circuit has
not recognized this new test, and continues to apply Mohasco. See, eg., Neal v. Janssen. 270 F.3d 328, 332-33 (6"‘
Cir. 2001); Pavne v. Motorists’ Mut. Inc. Companies, 4 F.3d 452, 455 (6"“ Cir. 1993); Third Nat’l Bank v. WEDGE
Groug Inc., 882 F.2d 1087, 1090 (6th Cir. 1989).

 

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their principal place of business here, all three are registered to do business within the state.
Genie and RSC do business throughout Tennessee. Specifically, Genie manufactures
products for sale, lease, or other distribution to distributors in the Western District of
Tennessee and RSC has several retail outlets throughout Tennessee. Although White admits
only to having done business in several counties in East and Middle Tennessee, it has a
listed registered agent for service of process in l\/Iemphis, Tennessee. On these facts, the
court finds that Defendants have met the three-part minimum contacts test and are subject
to personal jurisdiction in the Western District of Tennessee.

B. Whether the action should be transferred pursuant to 28 U.S.C. § 1404(a).

Twenty-eight U.S.C. § 1404(a) provides that "[f]or the convenience of parties and
witnesses, in the interest of justice, a district court may transfer any civil action to any other
district or division where it might have been brought." A district court has "broad discretion
to grant or deny a motion to transfer [a] case." Phelps v. McClellan, 30 F.3d 658, 663 (6lh

Cir. 1994) (quoting Cote v. Wadel, 796 F.2d 981, 985 (7th Cir. 1986)); see also Van Dusen

 

v. Barrack, 367 U.S. 612, 644 (1964); Nicol v. Koscinsl<i, 188 F.2d 537 (6‘h Cir. 1951).
Transfer of venue pursuant to § 1404(a) is possible even when the current forum is proper
under § 1391. Union Planters Bank, 67 F.Supp.2d at 920.

Under § l404(a), a district court must determine "whether or not on balance the

litigation would more conveniently proceed and the interests of j ustice be better served by

transfer to a different forum." Box v. Ameritrust Texas. N.A., 810 F. Supp. 776, 780 (E.D.

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Tex. 1992) (citations omitted). A variety of factors should be considered, including the
convenience of the parties and potential witnesses, where the operative facts occurred, the
location of the documentary evidence, the possibility of prejudice in either the forum or the
transfer state, and other public-interest concerns such as “systemic integrity and fairness.”
See Moses v. Business Card Exoress. lnc., 929 F.2d 1131, 1136 (6th Cir. 1991); Priess v.
Fisherfolk, 535 F. Supp. 1271, 1279 (S.D. Ohio 1982). However, § 1404(a) "provides for
transfer to a more convenient forum, not to a forum likely to prove equally convenient or
inconvenient." Van Dusen, 367 U.S. at 645-46. A motion to transfer should be granted only
when the balance weighs strongly in favor of transfer M, 188 F.2d at 537.

The factor which should be given foremost consideration is the Plaintiff‘s choice of
forum. See West Am. lns. Co. v. Potts, 908 F.2d 974 (TABLE), 1990 WL 104034, *2 (6th
Cir. Jul. 25, 1990); M, 810 F. Supp. at 780-81. That choice should not lightly be
disturbedl gee Uniprop v. Home Owners Funding Corp., 753 F. Supp. 1315, 1322
(W.D.N.C. 1990).

In the present case, the balance of the aforementioned factors weighs strongly against
transferring venue. First, Plaintiff, an individual, chose to bring suit in the Western District
of Tennessee. Abels, Plaintiff’ s guardian ad litem, is a resident of Savannah, Tennessee, and
it is unclear whether Plaintiff is also a Savannah, Tennessee resident. At the time of the
accident, however, Plaintiff was a Savannah resident and an employee of lnsulations

Systems, Inc., a company located in the Western District of Tennessee. Defendants, on the

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other hand, are not residents of Tennessee but are corporations that operate out of many
different states. All three Defendants are registered to do business in Tennessee, and RSC
and Genie conduct business in the Western District.

Second, when considering the financial situation and physical condition of the parties,
it would be easier for Defendants to travel to the Western District than it would be for Hunt
and Abels to travel to the Eastern District. Hunt, who was severely injured as a result of the
accident, does not earn any income. Abels owns his own business; thus, traveling to the
Eastern District would make it difficult for him to continue running his company. In
addition, Abels does not have a large discretionary income with which to support himself
or Hunt. On the other hand, Defendants are large corporations As such, Defendants have
more financial resources and more man-power to handle this action if it were to remain in
the Western District. ln order for Defendants to effectively participate in this suit, it would
require only a few representatives’ participation and it would likely cause very little
disruption to the day-to-day business of each company.

Defendants’ strongest arguments for transferring venue lies in the fact that the alleged
incident occurred in Cleveland, Tennessee, and that the bulk of the witnesses listed by
Plaintiff are located in the Eastern District. Defendant cites this court’s holding in Returns
Distribution Specialist, LLC v. Pla}§ex Products, Inc., 2003 WL 21244142, *7 (W.D.
Tenn.), which stated that “[t]he most significant factor when considering a transfer under

§ 1404 is the convenience of the witnesses.” Here, Plaintiff has identified over twenty-six

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(26) physicians and healthcare providers from Erlanger Hospital in Chattanooga, Tennessee
as potential witnesses By comparison, Plaintiff has listed only seven (7) other potential
witnesses associated with the Campbell Clinic in Memphis, Tennessee. Plaintiff also lists
employees of Duncan Electric Company, representatives of RSC, and representatives of
Schultz Design as potential witnesses-all of which are identified as living in Cleveland,
Tennessee, and thus, in the Eastern District. Defendants have also listed numerous potential
witnesses located in the Eastem District, but many of these are described as “unknown
employees” or otherwise have no specific information regarding identity.

In contrast, however, Plaintiff argues that the witness disclosures provided under Fed.
R. Civ. P. 26 include only individuals who may be called as witnesses and are not
necessarily those who will be called as witnesses Plaintiff notes that the court should
consider the specific witnesses and their likely testimony, rather than the general quantity
of witnesses of the party seeking or opposing the transfer Holidav Rambler CorD. v.
American Motors CorD., 254 F. Supp. 137, 139 (W.D. Mich. 1966); M Ma_l
Portland Cement Co. v. Perrv, 204 F.2d 316, 320 (7‘h Cir. 1953); Jenkins v. Wilson
Forwarding Co., 104 F. Supp. 422, 424 (S.D.N.Y. 1952) (“The party seeking the transfer
must clearly specify the key witnesses to be called.... The emphasis must be on this rather

than on numbers.”); Lake v. Richardson-Merrell lnc., 538 F. Supp. 262, 271 (N.D. Ohio

 

1982). In addition, Plaintiff argues that under Fed. R. Civ. P. 45(c) the court may modify

a subpoena to provide adequate protections for witnesses traveling over 100 miles to attend

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trial and it may modify the rules regarding deposing witnesses where the deposition is over
100 miles from the witness’ residence or employment Further, pursuant to Fed. R. Civ. P.
32(a)(3)(B), the deposition of witnesses may be used as testimony at trial if the witness is
located more than 100 miles from the location of the trial or hearing. Finally, Plaintiff
argues that 28 U.S.C. § 1821 allows for compensation of witnesses for travel expenses and
attendance Plaintiff contends that not all of the witnesses listed are likely to be subpoenaed
for trial and that, when necessary, counsel can depose these witnesses at their homes and use
their depositions as a substitute for live trial testimony.

ln the present case, Plaintiff" s most important witnesses, those of Hunt and Abels, are
located in the Western District of Tennessee and will not be inconvenienced if this case
remains here. Other likely witnesses, such as Hunt’s co-workers, are employees of
Insulation System and reside in the Western District. In addition, Defendants’ witnesses are
representatives and employees of large multi-state corporations, and to have them travel to
the Western District will not be extremely inconvenient lt is unclear how the
representatives of a multi-state corporation would be more inconvenienced by having to
travel to the Western District than to the Eastern District. Further, under Rule 45(c) and §
1821, Defendants may depose its witnesses and use their transcripts at trial, or they may
reimburse its witnesses for travel time and expenses incurred as a result of testifying at trial.
Finally, as argued by Plaintiff, the most likely witnesses will be expert witnesses, These

witnesses could just as easily testify in the Western District as they could in the Eastern

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District.

Defendants argue that the location of the alleged incident, occurring in Cleveland,
Tennessee, weighs strongly in favor of transferring venue to the Eastem District. However,
as argued by Plaintiff, the court is not likely to take a trip to the accident site; thus, the most
likely evidence of the accident scene will be photographs and witness accounts, and these
will be just as convenient to produce at trial in either district Also, Defendants argue that
the fact that the boom lift that allegedly caused Hunt’s injuries is located in Ooltewah,
Tennessee, supports the argument that the case would more conveniently be litigated in the
Eastern District. Defendants claim that the boom is “a large and unwieldy piece of industrial
machinery that may be considered immobile.” Defendant’s Motion to Change Venue, at 6.
However, Plaintiff correctly points out that the man-lift was moved from the accident site
to the storage facility in Ooltewah, Tennessee; therefore, it is not immobile. If Defendants
are capable of moving the man-lift to a storage unit, then they are capable of moving it to
the Western District for trial, if necessary.

Here, when balancing the respective parties’ locations and feasibility of travel to both
the Eastem and Western Districts, the balance tips in favor of retaining the case in the
Western District. Hunt and Abels would be greatly inconvenienced if this case were
litigated in the Eastem District. Defendants, which are three large multi-state corporations,
would not be substantially more inconvenienced if this case were to be tried in the Western

District rather than the Eastem District. In addition, the list of witnesses provided do not

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necessarily demonstrate that the Eastem District is more convenient because it is uncertain
as to which witnesses are likely to be called. Further, the location of the accident and the
man-lift--when taking into account Plaintiff" s choice of forum, and his financial and physical
condition-do not make the Eastem District a more convenient forum.

Defendants have not established the Eastern District will prove more convenient
Accordingly, Defendant White Electrical Construction’s motion to dismiss for improper
venue, or, in the alternative, to transfer venue to the United States District Court for the
Eastem District of Tennessee, Southern Division at Chattanooga, is DENIED.

lT lS SO ORDERED.

m-WAM

S D. TODD
TED STATES DISTRICT JUDGE

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DATE

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.luly 13, 2005 to the parties listed.

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